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           EXHIBIT 6
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 Message
 From:                  Tim Murtaugh [/o=Exchangelabs/ou=Exchange Admin istrative Group
                        (FYDI BOH F23SPDL T)/ cn=Recip ients/en= 198fbe 1c8a85424bb44c85b85e206a 13-tmu rtaugh]
 Sent:                  12/14/2020 5:23:02 PM
To :                    Jason Miller [/o=Exchangelabs/ou=Exchange Adm inistrative Group
                        (FYDIBOHF23SPDLT)/cn=Recipients/cn=9b819ed3574043feaa8e5b60c98bad5d-jmiller]; Eric Herschmann
                                                          Justin Clark [/o=Exchangelabs/ou=Exchange Admin istrative Group
                        (FYDIBOHF23SPDLT)/cn=Recipients/cn=77ae30de58464c3d895e05b16de19c32-jclark]
 Subject:               Re: [EXTERNAL]Re: Electors statement


Any update on this?


From: Jason Miller <jmiller@donaldtrump.com>
Sent: Monday, December 14, 2020 10:09:55 AM
To: Eric Herschmann                                            >; Justin Clark <jclark@donaldtrump.com>; Tim Murtaugh
 <tmurtaugh@donaldtrump.com>
 Subject: Fwd: [EXTERNAL] Re: Electors statement

 Please see below. Statement on hold until further notice, pending Rudy's talk with the President.

 Additionally, I just got this inquiry from Bloomberg, in case you didn't see Stephen Miller on Fox this AM:

 "Stephen Miller said this morning on Fox that an "alternate slate of electors" will send results up to Congress.
 Trying to get more clarity. You all having your own electoral vote?"

 Begin forwarded message:

                From: Boris Epshteyn <bepshteyn@donaldtrump.com>
                Date: December 14, 2020 at 9:55:47 AM EST
                To: Jason Miller <jmiller@donaldtrump.com>
                Subject: Re: [EXTERNAL]Re: Electors statement

                Hey my man - Mayor going to discuss with POTUS and if they decide it should go, thinking
                we'll put it out as we have other statements?

                Can you give me a call on something else?


                Best,


                Boris Epshteyn

                Strategic Advisor

                Donald J. Trump for Pt·esident, Inc.




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                are not the intended recipient, you must not read, use or disseminate the information; please
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by the sender for any loss or damage arising in any way from its use.



        On Dec 14, 2020, at 9:51 AM, Jason Miller <jmiller@donaldtrump.com> wrote:


        What's your plan here?

        Begin forwarded message:

                From: Rudolph Giuliani
                Date: December 13, 2020 at 10:09:42 PM EST
                To: Boris Epshteyn <bepshteyn@donaldtrump.com>
                Cc: Jason Miller <jmiller@donaldtrump.com>, Jenna Ellis
                <jenna.ellis.esq@gmail.com>, maria.ryan@giulianipartners.com
                Subject: Re: [EXTERNAL]Re: Electors statement


                Looks good to me.

                On Sun, Dec 13, 2020 at 9:32 PM Boris Epshteyn
                <bepshteyn@donaldtrump.com> wrote:
                 Good evening, Mayor - as discussed, am bumping the draft
                 statement to the top of your inbox.

                 "On December 14th , the states of Arizona,     Nevada, Wisconsin,
                 Michigan, Pennsylvania, and Georgia are appointing Democrat electors
                 to cast their votes for Bi den. Each one of these states has clearly
                 demonstrable evidence of voter fraud significant enough to change the
                 outcome of the election.

                  * Pennsylvania counted more than 700,000 ballots illegally and in
                 secret.
                  * Georgia has video evidence of 30,000 illegal ballots cast after the
                 observers were removed.
                  * Michigan had over 500,000 ballots cast without observation and
                 71% of Wayne County precincts could not reconcile their books.
                  * Wisconsin has over 243,000 ballots cast by potential ineligible
                 voters.
                   * In Nevada, 40,000 people voted twice.
                   * Arizona tallied more than 500,000 ballots without any observation.

                 In addition to these basic violations of state law, the Dominion
                 software and voting data shows mathematical impossibilities with
                 spikes for Bi den faster than the machines' ability to process.




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      Each of these elections were fraudulent, and irredeemably
      compromised because of foul play. The only honest thing we can say
      about the elections in these states is that they are fraudulent.

      Our system requires the SO states to participate in the Electoral College
      process to select our President. When at least six states intentionally
      break the rules, this impacts the outcome and every states' voters, and
      is a violation of the U.S. Constitution.

      Any statement signed by Democrat electors from these six states
      claiming that they are properly appointed to cast a vote for Bi den in
      the Electoral College is a false statement and Congress should not
      accept them. - Trump Legal Team"


      Best,


      Boris Epshteyn

      Strategic Advisor

      Donald J. Trump for President, Inc.

      Cell:


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      sender for any loss or damage arising in any way from its use.



              On Dec 13, 2020, at 6:02 PM, Christina Bobb
              <christina@,cgbstrategies.com> wrote:

              On December 14 th , the states of Arizona, Nevada,
              Wisconsin, Michigan, Pennsylvania, and Georgia
              are appointing Democrat electors to cast their votes
              for Biden. Each one of these states has clearly
              demonstrable evidence of voter fraud significant
              enough to change the outcome of the election.



               * Pennsylvania counted more than 700,000
              ballots illegally and in secret.



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              * Georgia has video evidence of 30,000 illegal
             ballots cast after the observers were removed.

              * Michigan had over 500,000 ballots cast without
             observation and 71 % of Wayne County precincts
             could not reconcile their books.

              * Wisconsin has over 243,000 ballots cast by
             potential ineligible voters.

               * In Nevada, 40,000 people voted twice.

              * Arizona tallied more than 500,000 ballots
             without any observation.



             In addition to these basic violations of state law,
             the Dominion software and voting data shows
             mathematical impossibilities with spikes for Biden
             faster than the machines' ability to process.



             Each of these elections were fraudulent, and
             irredeemably compromised because of foul
             play. The only honest thing we can say about the
             elections in these states is that they are fraudulent.



             Our system requires the 50 states to participate in
             the Electoral College process to select our
             President. When at least six states intentionally
             break the rules, this impacts the outcome and every
             states' voters, and is a violation of the U.S.
             Constitution.



             Any statement signed by Democrat electors from
             these six states claiming that they are properly
             appointed to cast a vote for Biden in the Electoral
             College is a false statement and Congress should
             not accept them.

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